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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
CHRISTOPHER O’ROURKE,

                          Plaintiff,                                  CASE NO.: 1:19-cv-1908

v.

NEW AKO RESTAURANT INC. and 205 BEFORD
CORP.

                           Defendants.
--------------------------------------------------------------X
                                                 COMPLAINT

        Plaintiff, CHRISTOPHER O’ROURKE (hereinafter “Plaintiff”), sues Defendants NEW

AKO RESTAURANT INC. and 205 BEFORD CORP. (hereinafter “Defendants”), for injunctive

relief, attorneys’ fees and costs, including but not limited to disbursements, court expenses and

fees, pursuant to 42 U.S.C. § 12181 et seq. (hereinafter “AMERICANS WITH DISABILITIES

ACT” or “ADA”) and the ADA Accessibility Guidelines 28 C.F.R. Part 36 (hereinafter

“ADAAG”), and for injunctive relief and damages, pursuant to the NEW YORK CITY HUMAN

RIGHTS LAW (“NYCHRL”), and the NEW YORK STATE HUMAN RIGHTS LAW

(“NYSHRL”) and alleges:

                                       JURISDICTION AND VENUE

1. This is an action for declaratory and injunctive relief brought pursuant to Title III of the

     Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. This Court is vested with original

     jurisdiction over this dispute pursuant to 28 U.S.C. § 1331 and § 1343. This Court has

     supplemental jurisdiction over Plaintiff’s state law claims that arise out of the same nucleus of

     facts and circumstances as the subject federal claims.
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2. Venue is proper and lies in this Court pursuant to 28 U.S.C. §1391 in that the transaction or

   occurrence giving rise to this lawsuit occurred in the Eastern District of New York.

3. The remedies provided by New York State Human Rights Law Against Discrimination are not

   exclusive and state administrative remedies do not need to be exhausted in connection with a

   lawsuit commenced pursuant to the Federal Civil Rights Act.

                                          THE PARTIES

4. At all times material hereto, Plaintiff, CHRISTOPHER O’ROURKE, was and is over the age

   of 18 years, sui juris, and is a resident of the State of New York.

5. Plaintiff has at all material times suffered from a “qualified disability” under the ADA. As a

   result of spinal stenosis, bilateral hip replacement, total knee replacement, spinal fusion,

   neuropathy affecting both legs with resultant muscular atrophy, as well as a steel rod in his

   right tibia and fibula, Plaintiff is severely limited in his ability to walk or traverse stairs, and

   must use a motorized wheelchair to travel more than a short distance. Plaintiff also has serious

   limitations in his arms and shoulders as a result of a shoulder replacement and other surgeries.

 6. Defendant, NEW AKO RESTAURANT INC. is a domestic business corporation authorized

     to conduct and conducting business within the State of New York, and is the operator of that

     certain restaurant known Ako Japanese Cuisine located at 205 Beford Avenue, Brooklyn,

     NY 11211 (the “Subject Property”).

 7. Defendant, 205 BEFORD CORP., is a domestic business corporation authorized to conduct

     and conducting business within the State of New York, and is the owner of that real property

     located a t205 Beford Avenue, Brooklyn, NY 11211 (the “Subject Property”).

8. The Subject Property is a place of public accommodation as that term is defined by the ADA;

   specifically, the Subject Property is a restaurant open to the general public.



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9. Prior to the commencement of this action, Plaintiff personally visited the Subject Property;

       however, Plaintiff was denied full access to, and full enjoyment of the facilities at the Subject

       Property, and/or any accommodations offered to the public therein in that Plaintiff was

       restricted and limited by his disabilities, and therefore suffered an injury in fact. That, Plaintiff

       continues to desire to visit the Subject Property in the future, but continues to be injured in that

       he is unable to and continues to be discriminated against due to the architectural barriers that

       remain at the Subject Property, all in violation of the ADA, the NYSHRL, and NYCHRL.

10. That all events giving rise to the instant action occurred in the City of New York, State of New

       York. Venue is proper in the Southern District of New York in that the Subject Property is

       located in the State of New York, County of New York.

                                                 COUNT I
                                          VIOLATIONS OF THE ADA

11. Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set forth herein.

12. On July 26, 1990, Congress enacted the Americans with Disabilities Act, 42 U.S.C. § 12101,

       et seq.

13. Congress specifically found, inter alia, that:1

                 a. Some 43,000,000 Americans have one or more physical or mental disabilities, and

                    this number is increasing as the population as a whole is growing older;

                 b. Historically, society has tended to isolate and segregate individuals with

                    disabilities, and, despite some improvements, such forms of discrimination against

                    individuals with disabilities continue to be a serious and pervasive social problem;

                 c. Discrimination against individuals with disabilities persists in such critical areas of

                    employment, housing, public accommodations, education, transportation,


1
    42 U.S.C. § 12101(a)(1) – (3), (5), and (9).

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                       communication, recreation, institutionalization, health services, voting, and access

                       to public services;

                d. Individuals with disabilities continually encounter various forms of discrimination,

                       including outright intentional exclusion, the discriminatory effects of architectural,

                       transportation, and communication barriers, overprotective rules and policies,

                       failure to make modifications to existing facilities and practices, exclusionary

                       qualification standards and criteria, segregation, and relegation to lesser service,

                       programs, activities, benefits, jobs, or other opportunities; and,

                e. The continuing existence of unfair and unnecessary discrimination and prejudice

                       denies people with disabilities the opportunity to compete on an equal basis and to

                       pursue those opportunities for which our free society is justifiably famous, and costs

                       the United States billions of dollars in unnecessary expenses resulting from

                       dependency and non-productivity.

14. Congress explicitly set forth the purpose of the ADA; to wit:2

                (i)       Provide a clear and comprehensive national mandate for the elimination of

                          discrimination against individuals with disabilities;

                (ii)      Provide a clear, strong, consistent, enforceable standard addressing

                          discrimination against individuals with disabilities; and,

                (iii)     Invoke the sweep of congressional authority, including the power to enforce the

                          fourteenth amendment and to regulate commerce, in order to address the major

                          areas of discrimination faced day-to-day by people with disabilities.




2
    42 U.S.C. § 12101(b) (1) (2) and (4).

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15. The congressional legislation gave places of public accommodation a time period of up to one

     and a half years from the enactment of the ADA to implement the requirements imposed by

     the ADA.

16. The effective date of Title III of the ADA was January 26, 1992 (or January 26, 1993, if

     Defendant has 10 or fewer employees and gross receipts of $500,000.00 or less).3

17. Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the Department of Justice,

     Office of Attorney General, promulgated federal regulations to implement the requirements of

     the ADA (the “ADAAG”).4

18. Upon information and belief, the Subject Property has begun operations, and/or has undergone

     substantial remodeling, repairs and/or alterations since January 26, 1992, and/or has sufficient

     income to make readily achievable accessibility modifications.

19. Public accommodations were required to conform to these regulations by January 26, 1992 (or

     January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of $500,000.00

     or less).5

20. The Subject Property is legally required to be, but is not, in compliance with the ADA and

     ADAAG.

21. Such non-compliance includes but is not limited to the following:

             a. There are changes in level at Subject Property exceeding ½ (one-half) inch that are

                  not properly ramped in violation of section 303.4 of the 2010 ADAAG standards.

                  Specifically, is a step between the sidewalk and entrance, thus rendering the Subject




3
  42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).
4
  29 C.F.R. Part 36.
5
  42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

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               Property inaccessible. This violation made it dangerous and difficult for Plaintiff to

               access the Subject Property;

           b. Due to the barrier present at the entrance, the Subject Property lacks at least one

               accessible route provided within the site to the public streets and sidewalks in

               violation of section 206.2.1 of the 2010 ADAAG standards;

           c. The dining tables of the Subject Property are inaccessible. The required minimum

               knee clearance is not provided, noncompliant height of dining tables exceeds

               maximum height allowance, and the minimum percentage of existing dining tables

               required to be accessible is not provide in violations of sections 226, 902 and 306

               of the 2010 ADAAG standards.

22. This is not intended as a complete list of ADA and ADAAG violations at the Subject Property.

   Additional violations will be set forth within Plaintiff’s expert disclosures and report, following

   inspection made pursuant to Fed. R. Civ. P. 34.

23. Plaintiff was and is blocked by physical barriers to access at the Subject Property, dangerous

   conditions, and ADA violations, existing upon the Subject Property, including those specified

   above. These violations, which include but are not limited to those enumerated herein, prohibit

   Plaintiff from safely accessing the Subject Property, and/or the goods, services, facilities,

   privileges, advantages and/or accommodations offered therein.

24. Remediating the ADA and ADAAG violations set forth herein is both technically feasible and

   readily achievable.

25. Plaintiff intends to visit the Subject Property again in the future (upon Defendants’ compliance

   with an Order of this Court requiring that Defendants remedy the subject ADA violations) in

   order to utilize all of the goods, services, facilities, privileges, advantages and/or



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   accommodations offered at the Subject Property; however, in light of his disabilities, unless

   and until the Subject Property is brought into full compliance with the ADA and its

   implementing regulations, Plaintiff will remain unable to fully, properly, and safely access the

   Subject Property and/or the goods, services, facilities, privileges, advantages and/or

   accommodations offered therein.

26. As a result of the foregoing, Defendants have discriminated against Plaintiff and others with

   disabilities, by denying access to, and full and equal enjoyment of, the goods, services,

   facilities, privileges, advantages and/or accommodations of the Subject Property. Defendants’

   discrimination is specifically prohibited by 42 U.S.C. § 12182, et seq.

27. Moreover, Defendants will continue to discriminate against Plaintiff and others with

   disabilities unless and until it is compelled by this Court to remove all physical barriers upon

   the Subject Property which violate the ADA and ADAAG, including but not limited to those

   specifically set forth herein, and to make the Subject Property, accessible to and usable by

   persons with disabilities, including Plaintiff by making appropriate alternations to policies and

   procedures.

28. Plaintiff is without adequate remedy at law, and is suffering irreparable harm, and reasonably

   anticipates that he will continue to suffer irreparable harm unless and until Defendants are

   required to remove the physical barriers, dangerous conditions, and ADA violations that exist

   upon the Subject Property, including but not limited to those set forth herein.

29. This Court is vested with authority to grant injunctive relief sought by Plaintiff, including entry

   of an Order requiring alteration and modification of the Subject Property, and/or alteration and

   modifications to Defendants’ policies and procedures, so as to make the Subject Property

   readily accessible to and useable by individuals with disabilities to the extent required by law.



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30. Plaintiff has been obligated to retain the undersigned counsel for the filing and prosecution of

      this action, and has agreed to pay counsel reasonable attorneys’ fees, costs, and litigation

      expenses, all of which are recoverable against the Defendants.6

                                          COUNT II
                                  VIOLATIONS OF THE NYSHRL

31. Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set forth

      herein.

32. The NYSHRL provides:

          It shall be an unlawful discriminatory practice for any person, being the owner,
          lessee, proprietor, manager, superintendent, agent or employee of any place of
          public accommodation . . . because of the . . . disability . . . of any person, directly
          or indirectly, to refuse, withhold from or deny to such person any of the
          accommodations, advantages, facilities or privileges thereof . . . to the effect that
          any of the accommodations, advantages, facilities and privileges of any such place
          shall be refused, withheld from or denied to any person on account of . . . disability
          . . . .7

33. The Subject Property is a place of public accommodation as defined by the NYSHRL.

34. Plaintiff visited the Subject Property and encountered architectural barriers made illegal by the

      ADA and ADAAG, and by the NYSHRL.

35. By maintaining architectural barriers that discriminate against people with disabilities through

      the actions described above, Defendants have, directly or indirectly, refused, withheld, and/or

      denied to Plaintiff, because of his disability, the accommodations, advantages, facilities or

      privileges thereof provided at the Subject Property. Failure by Defendants to act to identify

      and remove barriers can be construed as an act of “negligent per se.”




6
    42 U.S.C. §§ 12205, 12117
7
    NYS Exec. Law § 296 (2)(a).

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36. Plaintiff has been damaged and will continue to be damaged by this discrimination as more

      fully set forth above and, in addition to injunctive relief, seeks judgment pursuant to N.Y. Exec.

      Law §297, including damages pursuant to § 297(9) thereof.

                                           COUNT III
                                   VIOLATIONS OF THE NYCHRL

37. Plaintiff re-avers and re-alleges the allegations set forth above, as though fully set forth herein.

38. The NYCHRL provides:

          It shall be an unlawful discriminatory practice for any person, being the owner,
          lessee, proprietor, manager, superintendent, agent or employee of any place or
          provider of public accommodation because of the actual or perceived . . . disability
          . . . of any person, directly or indirectly, to refuse, withhold from or deny to such
          person any of the accommodations, advantages, facilities or privileges thereof . . .
          to the effect that any of the accommodations, advantages, facilities and privileges
          of any such place or provider shall be refused, withheld from or denied to any
          person on account of . . . disability. . . .8

39. Defendants are in violation of the NYCHRL by denying the Plaintiff full and safe access to all

      the accommodations, benefits and services of the Subject Property.

                                   ATTORNEYS’ FEES AND COSTS

40. Plaintiff has been obligated to retain the undersigned attorneys for purposes of filing and

      prosecuting this lawsuit. Pursuant to the ADA and NYCHRL, Plaintiff is entitled to have his

      reasonable attorneys’ fees, costs and expenses paid by the Defendants.

41. Plaintiff respectfully requests a judgment pursuant to N.Y. Exec. Law § 297, including

      compensatory damages contemplated by § 297(9).

                                              DAMAGES

42. Plaintiff demands compensatory damages based on Defendants’ violation of the NYSHRL and

      NYCHRL.



8
    NYC Admin Code § 8-107(4)(a)

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                                     INJUNCTIVE RELIEF

43. Plaintiff will continue to experience unlawful discrimination because of Defendants’ failure to

   comply with the ADA, the NYSHRL, and NYCHRL.

44. Pursuant to 42 U.S.C. § 12188, this Honorable Court is vested with the authority to grant

   injunctive relief in favor of the Plaintiff, including but not limited to the issuance of an Order

   to alter the Subject Property so that they are made readily accessible to, and useable by, all

   individuals with disabilities, including Plaintiff, as required pursuant to the ADA, the

   NYSHRL, and NYCHRL, and closing the facilities until the requisite modifications are

   complete.

45. Therefore, injunctive relief is necessary to order Defendants to alter and modify their place of

   public accommodation, their policies, business practices, operations and procedures.

46. Injunctive relief is also necessary to make the Subject Property readily accessible and useable

   by Plaintiff in accordance with the ADA, the NYSHRL, and NYCHRL.

       WHEREFORE, Plaintiff hereby demands judgment against the Defendants, jointly and

severally, and requests the following injunctive and declaratory relief:

               a) A declaration that the Subject Property owned, leased, operated, and/or

                   controlled by Defendants is in violation of the ADA, the NYSHRL, and

                   NYCHRL;

               b) An Order requiring Defendants to evaluate and neutralize their policies,

                   practices and procedures towards individuals with disabilities, for such

                   reasonable time to allow the Defendants to undertake and complete corrective

                   procedures to Subject Property;




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           c) An Order requiring Defendants to alter their facilities and amenities to make

              them accessible to and useable by individuals with disabilities as required

              pursuant to Title III of the ADA, the NYSHRL, and NYCHRL;

           d) An Order issuing a permanent injunction ordering Defendants to close the

              Subject Property and cease all business until Defendants remove all violations

              under the ADA, the NYSHRL, and NYCHRL, including but not limited to the

              violations set forth herein;

           e) An award of reasonable attorneys’ fees, costs, disbursements and other

              expenses associated with this action, in favor of the Plaintiff; and

           f) For such other and further relief that this Court deems just, necessary and

              proper.

     DATED : New York, New York
         April 3, 2019
                                           Respectfully Submitted,

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